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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS
                                              No. 13-238V
                                      Filed: September 24, 2014
                                         (Not to be published)

***********************************************
JAMES COX,                                    *
                                              *
                       Petitioner,            * Stipulation; Flu; GBS
        v.                                    *
                                              *
SECRETARY OF THE DEPARTMENT *
OF HEALTH AND HUMAN SERVICES, *
                                              *
                       Respondent.            *
***********************************************
Leonard Mark, Esq., Tiffany & Bosco, P.A., Phoenix, AZ for petitioner.
Claudia Gangi, Esq., U.S. Department of Justice, Washington, DC for respondent.

                               DECISION ON JOINT STIPULATION1

Gowen, Special Master:

         James Cox [petitioner] filed a petition for compensation under the National
Vaccine Injury Compensation Program2 on April 4, 2013. Petitioner alleges that the flu
vaccine he received on November 4, 2010, caused his Guillain-Barre syndrome [GBS].
See Stipulation, filed September 23, 2014, at ¶¶ 2, 4. Further, petitioner alleges that he
experienced residual effects of his injury for more than six months. Id. at ¶ 4.
Respondent denies that the flu vaccine caused petitioner’s alleged GBS, or any other
injury, or his current disabilities. Id. at ¶ 6.

       Nevertheless, the parties have agreed to settle the case. On September 23,
2014, the parties filed a joint stipulation agreeing to settle this case and describing the
settlement terms.

        Respondent agrees to pay petitioner:


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), a party has 14 days to identify and
move to delete medical or other information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B).
Further, consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, I agree that the identified material fits within the requirements of that provision, I
will delete such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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            (a) A lump sum of $155,000.00 in the form of a check payable to
                petitioner, James Cox. This amount represents compensation for all
                damages that would be available under § 300aa-15(a).

       The special master adopts the parties’ stipulation attached hereto, and awards
compensation in the amount and on the terms set forth therein. The clerk of the court is
directed to enter judgment in accordance with this decision.3


IT IS SO ORDERED.

                                                s/ Thomas L. Gowen
                                                Thomas L. Gowen
                                                Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

_________________________________________
                                                      )
JAMES COX,                                            )
                                                      )
                       Petitioner,                    )
                                                      )      No. 13-238V
v.                                                    )      Special Master Gowen
                                                      )      ECF
SECRETARY OF HEALTH AND                               )
HUMAN SERVICES,                                       )
                                                      )
                       Respondent.                    )
                                                      )

                                         STIPULATION

       The parties hereby stipulate to the following matters:

       1. James Cox, petitioner, filed a petition for vaccine compensation under the National

Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10 to 34 (the “Vaccine Program”).

The petition seeks compensation for injuries allegedly related to petitioner’s receipt of the

influenza (“flu”) vaccine, which is contained in the Vaccine Injury Table (the “Table”), 42

C.F.R. § 100.3(a).

       2. Petitioner received his flu immunization on November 4, 2010.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that the flu vaccine caused his alleged Guillain-Barre Syndrome

(“GBS”).

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on his behalf as a result of his condition.



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        6. Respondent denies that the flu vaccine caused petitioner’s alleged GBS, any other

injury, or his current disabilities.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(1), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

        A lump sum of $155,000.00 in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C.
        §300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21(a)(1), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys’ fees and costs incurred in proceeding

upon this petition.

        10. Petitioner and his attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C. §

1396 et seq.)), or by entities that provide health services on a pre-paid basis.


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       11. Payments made pursuant to paragraphs 8 and 9 of this Stipulation will be made in

accordance with 42 U.S.C. § 300aa-15(i), subject to the availability of sufficient statutory funds.

       12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys’ fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

       13. In return for the payment described in paragraph 8 and any amount awarded pursuant

to paragraph 9, petitioner, in his individual capacity and on behalf of his heirs, executors,

administrators, successors or assigns, does forever irrevocably and unconditionally release,

acquit and discharge the United States and the Secretary of Health and Human Services from any

and all actions or causes of action (including agreements, judgments, claims, damages, loss of

services, expenses and all demands of whatever kind or nature) that have been brought, could

have been brought, or could be timely brought in the Court of Federal Claims, under the National

Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any

way growing out of, any and all known or unknown, suspected or unsuspected personal injuries

to or death of petitioner resulting from, or alleged to have resulted from, the flu vaccination

administered on November 4, 2010, as alleged by petitioner in a petition for vaccine

compensation filed on or about April 4, 2013, in the United States Court of Federal Claims as

petition No. 13-238V.

       14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.


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        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties’

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties’ respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that flu vaccine caused petitioner’s alleged GBS, any

other injury, or his current disabilities.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner’s

heirs, executors, administrators, successors, and/or assigns.

                                       END OF STIPULATION

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                                                  4
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